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UNITED sTATE:s DISTRICT COURT F"'ED B‘ - D‘C-
WESTERN DISTRICT OF TEN'NESSEE
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W `JUF i§'u`, Y-=§§MPI*HS
U'NITED ST.'ATES OF AL'IERIC.A,
Plaintiff,
v. Case Number 04-20049-Ma
TEMEIK.A MICKENS,
Defendant.
\JTJI)GHMIEBEF
Decision by Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND .ADJUDGED that the IndiCtmel‘lt returned
against Temeika Mickens is dismissed in accordance with the
Order Granting Government's Motion to Dismiss Indictment,
docketed June 24, 2005.

APPROVED‘

MV///L

SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC'I' JUDGE

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(DATE) cLERK

(by) DEPUTY cLERKU

 

THOMAS M. GOU.D

 

 

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This notice confirms a copy of the document docketed as number 128 in
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Honorable Samuel Mays
US DISTRICT COURT

